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                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION

TONI MILLER, SUSAN ELLIOTT,                                           §
ARIEL KLEINSMITH                                                      §
AND ANTWAN LEE                                                        §
                                                                      §
           Plaintiffs,                                                §
                                                                      §
v.                                                                    §        CIVIL ACTION NO. 3:13-cv-1509
                                                                      §        JURY
TEAM GO FIGURE, L.L.P., TEAM GO                                       §
FIGURE, and SCOTT ESKRIDGE                                            §
                                                                      §
           Defendants                                                 §


                           APPENDIX TO PLAINTIFFS’ BRIEF IN SUPPORT OF
                           PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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           DATED this 14th day of March, 2014.

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                                CERTIFICATE OF SERVICE

I certify one true and correct copy of the foregoing instrument was served on Defendants’ lead
counsel of record by electronic mail through the Court’s EFCEM system on this 14th day of
March, 2014.



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